Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 1 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 2 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 3 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 4 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 5 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 6 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 7 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 8 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 9 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 10 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 11 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 12 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 13 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 14 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 15 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 16 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 17 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 18 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 19 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 20 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 21 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 22 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 23 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 24 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 25 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 26 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 27 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 28 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 29 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 30 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 31 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 32 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 33 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 34 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 35 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 36 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 37 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 38 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 39 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 40 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 41 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 42 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 43 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 44 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 45 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 46 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 47 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 48 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 49 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 50 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 51 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 52 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 53 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 54 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 55 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 56 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 57 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 58 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 59 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 60 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 61 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 62 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 63 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 64 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 65 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 66 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 67 of 68
Case 2:22-bk-13271-VZ   Doc 1-1 Filed 06/13/22 Entered 06/13/22 07:19:31   Desc
                         Main Document Page 68 of 68
